     Case 2:19-cr-00451-WKW-SMD Document 55 Filed 10/27/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
      v.                                  ) CASE NO. 2:19-CR-451-WKW
                                          )
LOY THOMAS HAMBRIC                        )
                                     ORDER

      Before the court is the Magistrate Judge’s oral recommendation on July 14,

2020, concerning Defendant’s consent to conduct the change of plea hearing by

videoconference. (Doc. # 34.) There being no objection to the Recommendation,

it is ORDERED that, for the specific reasons stated on the record that the change of

plea hearing in this case could not be further delayed without serious harm to the

interests of justice, the Recommendation (Doc. # 34) is ADOPTED.

      DONE this 27th day of October, 2020.

                                               /s/ W. Keith Watkins
                                          UNITED STATES DISTRICT JUDGE
